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                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                                WACO DIVISION

SBI CRYPTO CO., LTD.                           §
                                               §
vs.                                            §      NO: WA:23-CV-00252-ADA-DTG
                                               §
WHINSTONE US, INC.                             §

                 ORDER SETTING DISCOVERY HEARING VIA ZOOM

        IT IS HEREBY ORDERED that the above entitled and numbered case is set for

DISCOVERY HEARING VIA ZOOM (re Discovery Dispute Chart emailed on 4/11/25) on

Wednesday, April 16, 2025 at 02:00 PM (30 minute time block) before the Honorable Derek T.

Gilliland. The Zoom hearing link will be provided to counsel of record via email.




SIGNED this 15th day of April, 2025.




                                                   ______________________________
                                                   DEREK T. GILLILAND
                                                   UNITED STATES MAGISTRATE JUDGE
